         Case:18-05288-ESL11 Doc#:112 Filed:02/16/19 Entered:02/17/19 01:51:13                                              Desc:
                            Imaged Certificate of Notice Page 1 of 3
                                               United States Bankruptcy Court
                                                  District of Puerto Rico
In re:                                                                                                     Case No. 18-05288-ESL
SKYTEC INC                                                                                                 Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0104-3                  User: irizm                        Page 1 of 2                          Date Rcvd: Feb 14, 2019
                                      Form ID: ogmf                      Total Noticed: 30


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 16, 2019.
db             +SKYTEC INC,    500 CARR 869,    SUITE 501,    CATANO, PR 00962-2011
smg             FEDERAL LITIGATION DEPT. OF JUSTICE,     PO BOX 9020192,    SAN JUAN, PR 00902-0192
smg            +PR DEPARTMENT OF LABOR,    PO BOX 195540,     HATO REY, PR 00919-5540
cr             +LOGISTIC SYSTEMS, INC.,    3000 PALMER,     MISSOULA, MT 59808-1671
cr             +ORIENTAL BANK,    PO BOX 11750,    FERNANDEZ JUNCOS STATION,     SAN JUAN, PR 00910-2850
4632004        +CANCIO, NADAL, RIVERA & DIAZ, P.S.C.,      P.O. BOX 364966,   San Juan, PR 00936-4966
4632005        +CARLOS A. RODRIGUEZ-VIDAL,     250 MUNOZ RIVERA AVE.,    San Juan, PR 00918-1808
4632006         CRIM,   PO BOX 195378,    SAN JUAN, PR 00919-5387
4673179        +Cancio Nadal Rivera & Daz, PSC,     403 Muoz Rivera Ave.,    San Juan, PR 00918-3113
4673202        +Cancio Nadal Rivera & Diaz, PSC,     403 Muoz Rivera Ave.,    San Juan, PR 00918-3113
4632007         DEPARTMENT OF LABOR,    SAN JUAN, PR
4632010        +HENRY L. BARREDA,    500 CARR. 869 SUITE 501,     Catano, PR 00962-2011
4632012        +JUAN LORENZO MARTINEZ-COLON,     600 BOULEVARD DE LA MONTANA APT. 460,     San Juan, PR 00926-7121
4632013        +LOGISTICS SYSTEMS, INC.,     3000 PALMER STREET,    Missoula, MT 59808-1671
4632014        +MIGUEL CARBONELL TORRES,     500 CARR. 869 SUITE 501,    Catano, PR 00962-2011
4632015        +MUNIPALITY OF CATANO,    P.O. BOX 428,     Catano, PR 00963-0428
4650232         McGrath RentCorp dba TRS-RenTelco,     PO Box 619260,    DFW Airport, TX 75261-9260
4644978         ORIENTAL BANK,    C/O BETTY APONTE DELGADO,     P.O. BOX 195115,    SAN JUAN, PR 00919-5115
4632016        +ORIENTAL BANK OF PR,    P.O. BOX 195115,     San Juan, PR 00919-5115
4632017        +SAMUEL T. BULL,    1111 THIRD AVE. SUITE 3000,     Seattle, WA 98101-3296
4674755        +Solymar Castillo Morales,     Goldman, Antonetti & Cordova, LLC,
                 250 Ave. Munoz Rivera Suite 1500,     San Juan, PR 00918-1824
4675002        +TRS RENTELCO,    PO BOX 619260,    DALLAS, TX 75261-9260

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: bankruptcy@hacienda.pr.gov Feb 14 2019 19:00:39       DEPARTAMENTO DE HACIENDA,
                 PO BOX 9024140,    OFICINA 424-B,   SAN JUAN, PR 00902-4140
smg             E-mail/Text: ustpregion21.hr.ecf@usdoj.gov Feb 14 2019 19:00:10       US TRUSTEE,
                 EDIFICIO OCHOA,    500 TANCA STREET SUITE 301,    SAN JUAN, PR 00901-1922
cr             +E-mail/Text: laura.velez@firstbankpr.com Feb 14 2019 18:59:15       FIRST BANK PUERTO RICO,
                 PO BOX 9146,    SAN JUAN, PR 00908-0146
4673788        +E-mail/Text: g20956@att.com Feb 14 2019 19:00:24       AT&T Mobility Puerto Rico, Inc,
                 %AT&T SERVICES INC.,    KAREN A. CAVAGNARO PARALEGAL,     ONE AT&T WAY, SUITE 3A104,
                 BEDMINSTER, NJ. 07921-2693
4632008         E-mail/Text: laura.velez@firstbankpr.com Feb 14 2019 18:59:15       FIRST BANK,
                 CONSUMER SERVICE CENTER,    BANKRUPTCY DIVISION - CODE 248,
                 PO BOX 9146, SAN JUAN PR 00908-0146
4632009        +E-mail/Text: wcaraballo@fondopr.com Feb 14 2019 18:59:24       FONDO DEL SEGURO DEL ESTADO,
                 OFICINA REGIONAL SJ,    PO BOX 42006,    SAN JUAN, PR 00940-2206
4632011         E-mail/Text: cio.bncmail@irs.gov Feb 14 2019 18:59:21       INTERNAL REVENUE SERVICE,
                 P.O. BOX 7346,    PHILADELPHIA, PA 19101-7346
4632018         E-mail/Text: bankruptcy@hacienda.pr.gov Feb 14 2019 19:00:39
                 TREASURY DEPARTMENT OF PUERTO RICO,     P.O. BOX 9022501,   SAN JUAN, PR 00902-2501
                                                                                              TOTAL: 8

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
fa                Luis R. CPA Luis Carrasquillo
                                                                                                                    TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 16, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING
       Case:18-05288-ESL11 Doc#:112 Filed:02/16/19 Entered:02/17/19 01:51:13                        Desc:
                          Imaged Certificate of Notice Page 2 of 3


District/off: 0104-3          User: irizm                  Page 2 of 2                  Date Rcvd: Feb 14, 2019
                              Form ID: ogmf                Total Noticed: 30


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 14, 2019 at the address(es) listed below:
              ALEXIS FUENTES HERNANDEZ     on behalf of Debtor    SKYTEC INC alex@fuentes-law.com,
               fuenteslaw@icloud.com
              ALFREDO FERNANDEZ MARTINEZ     on behalf of Creditor    ORIENTAL BANK
               afernandez@delgadofernandez.com, aperez@delgadofernandez.com
              Bryan T. Glover,    on behalf of Creditor   LOGISTIC SYSTEMS, INC. bryan.glover@foster.com,
               Sandra.lonon@foster.com;litdocket@foster.com
              CARLOS A RODRIGUEZ VIDAL    on behalf of Creditor    LOGISTIC SYSTEMS, INC.
               crodriguez-vidal@gaclaw.com
              FRANSHESKA JANET PABON    on behalf of Creditor    FIRST BANK PUERTO RICO FPabon@lvvlaw.com,
               NCruz@lvvlaw.com
              MARISTELLA SANCHEZ RODRIGUEZ     on behalf of Debtor    SKYTEC INC msanchez@delgadofernandez.com,
               blopez@delgadofernandez.com;msanchez.ecf@gmail.com
              MARISTELLA SANCHEZ RODRIGUEZ     on behalf of Creditor    ORIENTAL BANK
               msanchez@delgadofernandez.com, blopez@delgadofernandez.com;msanchez.ecf@gmail.com
              MONSITA LECAROZ ARRIBAS     ustpregion21.hr.ecf@usdoj.gov
              SOLYMAR CASTILLO MORALES     on behalf of Creditor    LOGISTIC SYSTEMS, INC. scastillo@gaclaw.com,
               jrosado@gaclaw.com
              Samuel T. Bull,   on behalf of Creditor    LOGISTIC SYSTEMS, INC. sam.bull@foster.com,
               jan.howell@foster.com;litdocket@foster.com
              US TRUSTEE   ustpregion21.hr.ecf@usdoj.gov
                                                                                              TOTAL: 11
    Case:18-05288-ESL11 Doc#:112 Filed:02/16/19 Entered:02/17/19 01:51:13                                Desc:
                       Imaged Certificate of Notice Page 3 of 3
                              IN THE UNITED STATES BANKRUPTCY COURT
                                          District of Puerto Rico



IN RE:                                                         Case No. 18−05288 ESL

SKYTEC INC
                                                               Chapter 11

66−0564236

                                                               FILED & ENTERED ON 2/14/19
                        Debtor(s)



                                                      ORDER

The motion filed by creditor Logistic Systems, Inc. for entry of order directing examination under Rule 2004 and
production of documents (docket #108) is hereby granted .

IT IS SO ORDERED.

In San Juan, Puerto Rico, this Thursday, February 14, 2019 .
